212-243-1100 • Main                                                       225 Broadway, Suite 715
917-912-9698 • Cell                                                           New York, NY 10007
888-587-4737 • Fax                                                           bcsternheim@mac.com
                                                    June 17, 2022
Honorable Alison J. Nathan
Sitting By Designation
United States District Court
40 Foley Square
New York, NY 10007

                      Re: United States v. Ghislaine Maxwell
                                 S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

        Counsel for Ms. Maxwell write to inform the Court that we do not request sealing or
redaction of the letter submitted by Robert Y. Lewis, Esq., counsel to Sarah Ransome and
Elizabeth Stein. However, Mr. Lewis’s letter raises an issue that we believe the Court must
resolve prior to the sentencing hearing; namely, who may submit victim impact statements to the
Court or address the Court at sentencing under the Crime Victims’ Rights Act (“CVRA”).

        Under the CVRA, a “crime victim” has, among other things, “the right to be reasonably
heard at any public proceeding in the district court involving release, plea, sentencing, or any
parole proceeding.” 18 U.S.C. § 3771(a)(4). The CVRA defines a “crime victim” as “a person
directly and proximately harmed as a result of the commission of a Federal offense or an offense
in the District of Columbia.” 18 U.S.C. § 3771(e)(2)(A) (emphasis added). The concept of
“direct and proximate harm,” as used in the CVRA, is not limitless and only covers victims of
the conduct underlying the offenses of conviction. See United States v. Daly, No. 3:11-cr-121
(AWT), 2012 WL 315409, at *5-*6 (D. Conn. Feb. 1, 2012) (“[T]he determination as to whether
person has the rights of a ‘crime victim’ for purposes the CVRA is made with reference to the
conduct underlying the charged offense.”) (emphasis added).

        The conduct underlying the offenses charged against Ms. Maxwell ended “in or about
2004.” To our understanding, Ms. Ransome alleges that she was a victim of Epstein and Ms.
Maxwell from approximately October 2006 to April 2007, a full two years after the conduct in
this case ended. She therefore does not qualify as a “crime victim” under the CVRA. We do not
know when Ms. Stein alleges that she was a victim, but she would also not qualify as a “crime
victim” if the conduct she alleges post-dates 2004 or she was not a minor. According to
uncorroborated press reports Ms. Stein claims to have met Maxwell in 1994 when Ms. Stein was
21 years old and not a minor.

        In his letter to the Court, dated June 14, 2022. Mr. Lewis requests that Ms. Ransome and
Ms. Stein be given an opportunity to speak at Ms. Maxwell’s sentencing proceeding and
references that Ms. Ransome spoke at the hearing conducted by Judge Berman following
Epstein’s death. But the sentencing proceeding to be held on June 28 is far different from the
hearing conducted by Judge Berman. Following Epstein’s death, the government moved for a
nolle prosequi to dispose of the case pursuant to Second Circuit law holding that if a defendant
dies before the final judgment is issued, the Indictment must be dismissed under the rule of
abatement. See United States v. Wright 160 F.3d 905, 908 (2d Cir. 1998). Although the Court
was required to dismiss the indictment, it conducted a public hearing and provided Epstein’s
victims a forum to be heard prior to signing the nolle prosequi. See United States v. Epstein, 19
Cr. 490 (RMB), Dkt. 53.

        The victim statements in Judge Berman’s proceeding had no impact on the rights of a
defendant whose case is abated. Such is not the case here. While it is appropriate for victims to
be present pursuant to the CVRA, Ms. Maxwell’s sentencing proceeding should not be an open
forum for any alleged victim to be heard. Neither Ms. Ransome nor Ms. Stein are part of the
record in this case. We are concerned about the impact statements by alleged victims who were
not part of the trial or whose names are not part of the record and who otherwise do not qualify
as “crime victims” under the CVRA will have on the Court’s sentencing determination. We
request a preview of the manner in which the Court will conduct the sentencing proceeding and
advance notice of the individuals who will be permitted to speak.

       Ms. Maxwell’s sentencing proceeding should not be an open forum for anyone to come
forward who was not identified as a victim of the charged offenses.

                                             Very truly yours,
                                             /s/
                                             Bobbi C. Sternheim

cc: Government Counsel




                                                2
